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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

VERSUS                                                                                NO. 99-252

BRIAN O. LEE                                                                     SECTION “K”

                                   ORDER AND REASONS

       Before the Court is petitioner Brian Lee’s Motion under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody, or in the alternative under 28 U.S.C. §

2241 as a Writ of Habeas Corpus (Rec. Doc. No. 625). Petitioner contends that (1) he was sentenced

illegally beyond the maximum authorized by the United States Sentencing Guidelines because his

sentence was based on facts not found by a jury; (2) petitioner was denied effective assistance of

counsel; and (3) the Court should re-sentence petitioner within a range of 63 to 78 months. The

Court has reviewed the pleadings, memoranda, and the relevant law and finds that the motion is

without merit. Accordingly, the Court denies the motion for the following reasons:

I. Background

       This criminal action arises out of a 1998 Drug Enforcement Administration (“DEA”)

investigation into a cocaine drug ring involving petitioner and others. See Rec. Doc. No. 633, Exh.

C. In March 1999, petitioner Lee used proceeds from the illegal distribution of cocaine and

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attempted to conceal their true source by providing a financial institution with false W-2 Forms and

other documents. On April 8, 1999, the DEA conducted a court authorized Title III wiretap on a

cellular phone used by an associate of Lee. Conversations were overhead in which Lee discussed

the possession and distribution of cocaine hydrochloride, whereby his associate would make cocaine

available for Lee to sell to street level dealers. After a confidential informant negotiated with Lee

for the purchase of one kilogram of cocaine, the DEA obtained a state search warrant for Lee's

home. The search subsequently found copies of the false W-2 forms, four additional ounces of

cocaine, several weapons, and the $6,000 in government funds used by the confidential informant

to buy the kilogram of cocaine.1 See Rec. Doc. No. 633, Exh. C.

       On December 8, 2000, a federal grand jury indicted Lee, charging him with one count of

conspiracy to possess with intent to distribute more than five kilograms of cocaine; two counts of

possession with intent to distribute more than 500 grams, but less than 5 kilograms of cocaine; five

counts of use of a communication facility to facilitate the commission of a drug crime; and one count

of money laundering. See Rec. Doc. No. 633, Exh. A. On December 14, 2000, Lee pled not guilty

to all charges. On January 8, 2001, the date trial was scheduled to begin, Lee advised the Court that

he wished to change his plea to guilty, pursuant to a plea agreement. Lee pled guilty to the charge

of conspiracy to possess with intent to distribute more than five kilograms of cocaine hydrochloride

in violation of 21 U.S.C. §§ 841(a)(1) and 846, and to the charge of money laundering in violation

of 18 U.S.C. § 1956(a)(1)(B)(1).2     See Rec. Doc. No. 633, Exh. B. The government and Lee


       1
          This synopsis is derived from the Factual Basis to which the defendant attested to its
veracity at the sentencing hearing.
       2
         Under these statutes, the statutory sentence for 21 U.S.C. §§ 841(a)(1) and 846 is a
mandatory minimum of ten years and a maximum of life and/or a fine not to exceed $4,000,000.00;

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stipulated that the quantity of drugs involved in the conspiracy for sentencing purposes was at least

15 kilograms, but less than 50 kilograms, of cocaine hydrochloride. As a part of his plea agreement,

Lee agreed not to contest his sentence in any post conviction hearing, including but not limited to

a proceeding under 28 U.S.C. § 2255.3 During the January 8, 2002 re-arraignment hearing, the

Court carefully questioned Lee about his understanding of the consequences of his guilty plea and

the appeal waiver contained in the plea agreement.4 See Rec. Doc. No. 633, Exh. D. At sentencing,


the statutory sentence for 18 U.S.C. § 1956(a)(1)(B)(1) is a maximum of twenty years and/or a fine
not to exceed the greater of twice the value of the property involved in the transaction or
$500,000.00.
       3
           The written plea agreement provides in relevant part:

               Except as otherwise provided in this paragraph, the defendant hereby
       expressly waives the right to appeal his sentence on any ground, including but not
       limited to any appeal right conferred by Title 18, United States Code, Section 3742
       on the defendant, and the defendant further agrees not to contest his sentence in any
       post-conviction proceeding, including but not limited to a proceeding under Title 28,
       United States Code, Section 2255. The defendant, however, reserves the right to
       appeal the following: (a) any punishment imposed in excess of the statutory
       maximum, and (b) any punishment to the extent it constitutes an upward departure
       from the Guideline range deemed most applicable by the sentencing court.

Rec. Doc. No. 633, Exh. B at 2.
       4
        The Court asked Lee:

              Specifically, do you understand that you have waived your right to appeal any
       sentence that I may impose, including your rights to appeal under 18 U.S.C. § 3742,
       which provides for a review of a sentence, and under 18 U.S.C. § 2255, which
       provides for post conviction remedies, if there's a legal and constitutional basis for
       you to attack the conviction.

               Because you have waived these rights, you may appeal your conviction and/or
       sentence only under the following exceptions: First, you may appeal if I impose a
       sentence in excess of the statutory maximum. Second, you may appeal if I [impose]
       a sentence which constitutes an upward departure from the guideline range. Also you
       may appeal your sentence if you can show that you were deprived of certain
       constitutional rights, including the effective assistance of counsel. Do you understand

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the Court sentenced Lee to a term of imprisonment of 139 months. See Rec. Doc. No. 633, Exh. E.

The judgment of the Court was entered on May 7, 2001 with his conviction becoming final 10 days

later.

          On June 29, 2005, petitioner Lee filed a motion pursuant to 28 U.S.C. § 2255 seeking to

vacate, set aside, or correct his sentence. Lee seeks relief based on United States v. Booker, 543 U.S.

220, 125 S. Ct. 738 (2005), as well as Apprendi v. New Jersey, 530 U.S. 466, 120 S. Ct. 2348

(2000). Lee maintains that his sentence was above the maximum sentence authorized by the United

States Sentencing Guidelines because it was based on facts not found by a jury. Lee also contends

that he was denied effective assistance of counsel because his counsel did not advise him of the

Apprendi decision, and he requests that he be re-sentenced under the pre-Booker mandatory

sentencing scheme. Lee believes that his “lawful authorized range of imprisonment” is 63 to 78

months, and since he has been incarcerated since July 1, 1999, this necessitates his immediate

release.

II. Analysis

A. 28 U.S.C. § 2255

          1. Timeliness of Petitioner’s Motion

          Under the provisions of the Antiterrorism and Effective Death Penalty Act of 1996

(“AEDPA”), Publ. L. 104-132, 110 Stat. 1214 (1996), there is a one-year statute of limitations

period in which a defendant may file for relief under 28 U.S.C. § 2255. The statute reads in relevant

part:



          that sir?

Lee responded, “Yes, sir, I do.” Rec. Doc. No. 633, Exh. D.

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        A 1-year period of limitation shall apply to a motion under this section. The
        limitation period shall run from the latest of—
                (1) the date on which the judgment of conviction becomes final;
                (2) the date on which the impediment to making a motion created by
                governmental action in violation of the Constitution or laws of the United
                States is removed, if the movant was prevented from making a motion by
                such governmental action;
                (3) the date on which the right asserted was initially recognized by the
                Supreme Court, if that right has been newly recognized by the Supreme
                Court and made retroactively applicable to cases on collateral review; or
                (4) the date on which the facts supporting the claim or claims presented could
                have been discovered through the exercise of due diligence.
28 U.S.C. § 2255.

        The judgment and commitment order of Lee’s conviction was entered by the Court on May

7, 2001. Pursuant to Federal Rule of Appellate Procedure 4(b)(1)(A), Lee must have filed his notice

of appeal within 10 days of May 7, 2001 to obtain appellate review of his conviction and/or

sentence. Thus, in order to be timely, and excluding Saturdays, Sundays, and legal holidays, Lee’s

notice of appeal had to be filed on or before May 21, 2001. His petition under 28 U.S.C. § 2255

must also have been filed on or before May 21, 2001. See Sanchez-Castellano v. United States, 358

F.3d 424, 428 (6th Cir.2004)(“unappealed federal criminal judgment becomes final ten days after

it is entered, for purposes of the § 2255 statute of limitations, at least where there has been no district

court extension of appeal for good cause or excusable neglect”). Petitioner Lee’s motion was not

filed until June 24, 2005, over three years after the one-year statute of limitations expired.

Therefore, the petition was filed late and is barred under the one-year provision of 28 U.S.C. § 2255.

        Lee contends that the one-year provision should not bar his motion because Booker as well

as Blakely v. Washington, 542 U.S. 296, 124 S. Ct. 2351 (2004) had not yet been decided until long


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after his one-year time limit expired.       Lee also explains that he did not know about the

Apprendi decision until his fellow prisoners told him about it, and the facts supporting his claims

could not have been discovered any earlier even through the exercise of due diligence.

       Although Lee argues that the limitation period should run from (2) or (4) under 28 U.S.C.

§ 2255 to assess the timeliness of his petition, there is no retroactive application of Booker or

Blakely and no basis for Lee to argue that he was prevented from filing his petition, and the Fifth

Circuit has squarely held that “Booker's holding is not retroactively applicable to cases on collateral

review.” Padilla v. United States, 416 F.3d 424 (5th Cir. 2005); see also In re Elwood, 408 F.3d

211, 213 (5th Cir. 2005). Because any right recognized in Booker or Blakely was not made

retroactively applicable to cases on collateral review, it does not extend the one-year time period

during which Lee must have filed his § 2255 motion. Consequently, the judgment in this matter

became final ten days after May 7, 2001 and thus, Lee's motion is untimely, and barred under 28

U.S.C. § 2255 using the standard enunciated in subsection (1), the date on which the judgment of

conviction became final.

       2. Petitioner’s Waiver of Post-Conviction Relief

       Even if Lee’s motion was not untimely under 28 U.S.C. § 2244(d), he specifically waived

his right to post-conviction relief in his plea. As such, the relief sought should be denied. See

United States v. White, 307 F.3d 336 (5th Cir. 2002). As stated in United States v. Wilkes, 20 F.3d

651 (5th Cir. 1994):

       Under United States v. Melancon, 972 F.2d 566, 567 (5th Cir. 1992), a defendant can
       waive his right to appeal as part of a plea agreement if the waiver is informed and
       voluntary. ‘It is up to the district court to insure that the defendant fully understands
       [his] right to appeal and the consequences of waiving that right.’ United States v.
       Baty, 980 F.2d 977, 979 (5th Cir. 1992).

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Id. at 653. During Lee's re-arraignment hearing, the Court specifically questioned Lee regarding his

waiver of post-conviction relief and found him to be knowing and intelligent as to the consequences

of the waiver contained in his plea. See Rec. Doc. No. 633, Exh. D. Lee was advised of the rights

he was giving up by pleading guilty and indicated that he understood that he was waiving his right

to appeal and to pursue post conviction relief under 28 U.S.C. § 2255. See Rec. Doc. No. 633, Exh.

D. The Court finds that Lee understood the consequences of his plea and finds no evidence that

suggests Lee’s plea or his entry into the plea agreement was without knowledge or involuntary.

       Lee reserved the right of appeal only in the case where the punishment imposed was in

excess of the statutory maximum or if it constituted an upward departure from the guideline range

deemed applicable by Court at sentencing. Lee does not meet either of these exceptions. His

sentence of 139 months is below the maximum possible sentence of life for a violation of 21 U.S.C.

§§ 841(a)(1) and 846 and is within the guideline range this Court found applicable of 135 months

to 168 months. See Rec. Doc. No. 633, Exh. D. Lee also has not made a constitutional ineffective

assistance of counsel claim that would survive his waiver. See, e.g., White, 307 F.3d at 343 (holding

that ineffective assistance of counsel claims survive a waiver “only when the claimed assistance

directly affected the validity of the waiver or the plea itself.”). Thus, Lee’s motion is also barred

as a result of his waiver of post-conviction relief.




       3. The Application of Booker to Petitioner’s Case

       If the Court were able to address the merits, Lee’s motion still fails in light of the holding

in Booker. In Blakely, the Supreme Court held that a state sentencing guideline scheme which

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allowed enhancements without the underlying facts being found by a jury was unconstitutional. See

Blakely, 542 U.S. at 296. This decision raised a question as to whether the United States Sentencing

Guidelines and their use of enhancements was constitutional. However, the Supreme Court's

holding in Booker has resolved that question. See Booker, 534 U.S. at 246-247. In Booker, a

majority of the Supreme Court found that the Federal Sentencing Guidelines were unconstitutional

because their mandatory nature led to judges, not juries, finding facts that enhanced sentences. See

Steve G. Kalar, A Booker Advisory: Into the Breyer Patch, 29 MAR Champion 8 (March 2005). A

different majority then severed and excised that portion of the Sentencing Reform Act of 1984 that

made the Guidelines mandatory in nature. The Guidelines are now advisory and require a

sentencing court to consider the Guideline ranges, including the enhancements, while permitting the

court to tailor the sentence in light of other statutory concerns.

       As stated in United States v. Jones, 2005 WL 1704910 (W.D. La. July 20, 2005):

       In United States v. Mares, the Fifth Circuit Court of Appeals held that judicial fact-
       finding is permissible. See United States v. Mares, 402 F.3d 511 (5th Cir. 2005).
       The court explained that, “[t]he Guideline range should be determined in the same
       manner as before Booker/Fanfan . . .Booker contemplates that, with the mandatory
       use of the Guidelines excised, the Sixth Amendment will not impede a sentencing
       judge from finding all facts relevant to sentencing.” Id. at 519 (citing Booker, 543
       U.S. at 233). It is clear that in spite of Booker, this court was free to consider
       aggravating factors without violating [defendant's] Sixth Amendment rights.
       [Defendant's] argument that a judge acting alone cannot increase his sentence is
       without merit.


Id. at 3. Considering the facts surrounding the instant case, the Court finds that it would have given

Lee the exact same sentence had the Guidelines been advisory at the time of sentencing, and it

would not have been unconstitutional to have done so, particularly in light of the disputed sentencing

factors having been agreed to by Lee under Rule 11(e)(1)(C). The Court's sentence was not an


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illegal departure from the authorized maximum as Lee contends, but rather it was based on Lee’s

own stipulation of facts in the factual basis when he reached a plea agreement with the government.




B. Ineffective Assistance of Counsel

       Lee also seeks habeas relief based on ineffective assistance of counsel because his counsel

failed to inform him of the decision in Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348 (2000).

Even if Lee’s motion was not time-barred and he had not waived post-conviction relief, the

contention that Lee received ineffective assistance of counsel belies the record of this case. To make

a valid claim for ineffective assistance of counsel, a petitioner must demonstrate both prongs of the

test set forth in Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052 (1984). A petitioner must

show that (1) their counsel’s performance was deficient; and (2) their counsel’s deficient

performance prejudiced their defense. Strickland, 466 U.S. at 687. As to the first prong of the test,

a petitioner must show that “counsel’s representation fell below an objective standard of

reasonableness.” Hill v. Lockhart, 474 U.S. 52, 106 S.Ct. 366 (1985)(citing Strickland, 466 U.S.

at 694). A petitioner must also show, however, that “but for counsel's unprofessional errors, the

result of the proceeding would have been different.” Id.

       In Apprendi, the Supreme Court held that “[o]ther than the fact of a prior conviction, any fact

that increases the penalty for a crime beyond the prescribed statutory maximum must be submitted

to a jury, and proved beyond a reasonable doubt.” See Apprendi, 530 U.S. at 488-492. The Supreme

Court reaffirmed its Apprendi holding in Booker, but clarified that the facts necessary to support a

sentence exceeding the maximum authorized by a guilty plea or jury verdict “must be admitted by

the defendant” or proved beyond a reasonable doubt to the jury. Booker, 543 U.S. at 244. In this

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case, the facts at issue were admitted by petitioner Lee. Lee admitted to the factual basis which

stated the amount of cocaine involved in the conspiracy was more than 15 kilograms but less than

50, and stated that several weapons were found in Lee's home along with cocaine and cash. Lee was

thoroughly questioned by the Court during his re-arraignment hearing about his desire to plead

guilty and admit the facts in the factual basis. Thus, even if Lee could establish that his counsel

failed to advise him of the Apprendi decision, the second prong of the Strickland test is not met.

       Considering the overwhelming evidence supporting Lee’s sentencing enhancement and the

fact that Lee admitted the essential facts on which his sentence was predicated in the factual basis,

the Court finds that as this alleged error would not have changed the result of the proceeding, it

cannot meet the Strickland standard.

C. 28 U.S.C. § 2241

       As stated recently by the United States Court of Appeals for the Fifth Circuit:

       Section 2255 provides the primary means of “collaterally attacking a federal
       sentence,” Tolliver v. Dobre, 211 F.3d 876, 877 (5th Cir. 2000), and is the
       appropriate remedy for “errors that occurred at or prior to the sentencing.” Cox v.
       Warden, Fed. Detention Ctr., 911 F.2d 1111, 1113 (5th Cir. 1990) (internal quotation
       marks and citations omitted). Section 2241, on the other hand, is the proper
       procedural vehicle in which to raise an attack on “the manner in which a sentence is
       executed.” Tolliver, 211 F.3d at 877. A petition filed under § 2241 that attacks
       errors that occurred at trial or sentencing is properly construed as a § 2255 motion.
       Id. However, a § 2241 petition that attacks custody resulting from a federally
       imposed sentence may be entertained under the savings clause of § 2255 if the
       petitioner establishes that the remedy provided under § 2255 is inadequate or
       ineffective to test the legality of his detention. Tolliver, 211 F.3d at 878; see also
       Christopher v. Miles, 342 F.3d 378, 381-82 (5th Cir. 2003).


       Only the custodial court has the jurisdiction to determine whether a petitioner’s claims are

properly brought under § 2241 via the savings clause of § 2255. See Padilla v. United States, 416


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F.3d 424 (5th Cir. 2005); Hooker v. Sivley, 187 F.3d 680, 682 (5th Cir. 1999); see also Lee v. Wetzel,

244 F.3d 370, 373-75 (5th Cir. 2001). As Lee is presently incarcerated in Yazoo City, Mississippi,

this Court is without jurisdiction to make a savings clause determination under section 2241. Thus,

the Court must deny that portion of the motion without prejudice.

       Accordingly,

       IT IS ORDERED that petitioner’s Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside,

or Correct Sentence By A Person In Federal Custody (Rec. Doc. No. 625), or in the Alternative a

Writ of Habeas Corpus under 28 U.S.C. § 2241 is DENIED with prejudice as to the relief sought

pursuant to 28 U.S.C. § 2255 and DENIED without prejudice for lack of jurisdiction as to the relief

sought pursuant to 28 U.S.C. § 2241.

                                      13th day of April, 2006.
       New Orleans, Louisiana, this ________




                                                        STANWOOD R. DUVAL, JR.
                                                UNITED STATES DISTRICT COURT JUDGE




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